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 5
     Attorneys for Plaintiff
 6   GURI GONZALEZ
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10   GURI GONZALEZ,                                    Case No.: 2:23-cv-09689 SVW (PDx)
11
                  Plaintiff,                           NOTICE OF VOLUNTARY
12                                                     DISMISSAL OF ENTIRE ACTION
           vs.                                         WITH PREJUDICE
13
14   THE SMOKE AVENUE; 221 VERDUGO
     PROPERTY LLC; and DOES 1 to 10,
15
                  Defendants.
16
17
18         PLEASE TAKE NOTICE that Plaintiff GURI GONZALEZ (“Plaintiff”)
19   pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
20   the entire action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)
21   which provides in relevant part:
22         (a) Voluntary Dismissal.
23
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24
                         and any applicable federal statute, the plaintiff may dismiss an action
25
                         without a court order by filing:
26
                         (i)     A notice of dismissal before the opposing party serves either an
27
                                 answer or a motion for summary judgment.
28


                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: January 11, 2024               SO. CAL. EQUAL ACCESS GROUP
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 7
 8                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
 9                                               Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
